                               UNITED STATES DISTRICT COURT
                                           for the
                            EASTERN DISTRICT OF NORTH CAROLINA

U.S.A. vs. Travis Tyrone Wheeler                                              Docket No. 4:15-CR-48-2H

                               Petition for Action on Supervised Release

COMES NOW Taron N. Seburn, U.S. Probation Officer of the court, presenting a petition for modification
of the Judgment and Commitment Order of Travis Tyrone Wheeler, who, upon an earlier plea of guilty to
Conspiracy to Distribute and Possess With the Intent to Distribute a Quantity of Cocaine and a Quantity of
Marijuana, in violation of 21 U.S.C. § 846 and 21 U.S.C. § 841(b)(1)(C), was sentenced by the Honorable
Malcolm J. Howard, Senior U.S. District Judge, on February 11, 2016, to the custody of the Bureau of
Prisons for a term of 36 months. It was further ordered that upon release from imprisonment the defendant
be placed on supervised release for a period of 3 years.

   Travis Tyrone Wheeler was released from custody on July 11, 2018, at which time the term of
supervised release commenced.

    On October 29, 2018, a Violation Report was submitted after the defendant tested positive for marijuana
use. The court agreed to continue supervision and the defendant was referred for substance abuse treatment
at East Coast Counseling in Greenville, North Carolina.

    On January 25, 2019, a Violation Report was submitted after the defendant tested positive for marijuana
use on January 9, 2019. The court agreed to continue supervision, and the defendant was enrolled in
substance abuse treatment at East Coast Counseling in Greenville, North Carolina.

     On February 11, 2019, a Violation Report was submitted after the defendant was charged with the
offenses of Driving While License Revoked and Expired Registration/Tag (19CR700181) on February 6,
2019, in Tyrell County, North Carolina. The defendant was given a verbal reprimand and the court agreed
to continue supervision.

     On April 30, 2019, a Motion for Revocation was submitted after the defendant tested positive for
marijuana use on March 7, 2019, April 11, 2019, and April 22, 2019. At the revocation hearing held on July
9, 2019, the matter was held open for six months. On January 29, 2020, the court dismissed the Motion for
Revocation due to no further violations.

    On June 11, 2020, a Petition for Action was submitted after the defendant tested positive for marijuana
use on June 2, 2020. The defendant was given a verbal reprimand, counseled about his actions, and ordered
to complete 60 days curfew with electronic monitoring. He completed this sanction on August 23, 2020.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:

The defendant tested positive for marijuana use on October 7, 2020, and the results were confirmed by
laboratory analysis on October 14, 2020. When confronted with the results, Wheeler acknowledged his drug
use and signed an admission statement. He was subsequently given a verbal reprimand and was counseled
about his actions. In response to this drug use, we recommend the defendant be required to adhere to a
curfew with electronic monitoring for a period of 60 days. The defendant signed a Waiver of Hearing
agreeing to the proposed modification of supervision.

The defendant signed a Waiver of Hearing agreeing to the proposed modification of supervision.
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PRAYING THAT THE COURT WILL ORDER that supervised release be modified as follows:

   1. The defendant shall adhere to a curfew as directed by the probation officer for a period not to exceed
      60 consecutive days. The defendant is restricted to his residence during the curfew hours. The
      defendant shall submit to the following Location Monitoring: Radio Frequency monitoring and
      abide by all program requirements, instructions and procedures provided by the supervising officer.

Except as herein modified, the judgment shall remain in full force and effect.

Reviewed and approved,                               I declare under penalty of perjury that the foregoing
                                                     is true and correct.


/s/ Dewayne L. Smith                                 /s/ Taron N. Seburn
Dewayne L. Smith                                     Taron N. Seburn
Supervising U.S. Probation Officer                   U.S. Probation Officer
                                                     150 Reade Circle
                                                     Greenville, NC 27858-1137
                                                     Phone: 252-830-2335
                                                     Executed On: November 3, 2020

                                     ORDER OF THE COURT

                                4th
Considered and ordered this _________               November
                                         day of ____________________, 2020, and ordered filed
and made a part of the records in the above case.

________________________________
Malcolm J. Howard
Senior U.S. District Judge




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